   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Kelly Daniel Bass
   v. Commonwealth of Virginia
   Record No. 0769-18-2
   Opinion rendered by Judge Beales
    on July 9, 2019
   Refused (191033)

2. Charles Erskine Church
   v. Commonwealth of Virginia
   Record No. 0264-18-2
   Opinion rendered by Chief Judge Decker
    on November 12, 2019
   Refused (200031)

3. Cassandra Marcelle Murray
   v. Commonwealth of Virginia
   Record No. 1226-18-1
   Opinion rendered by Judge Humphreys
    on January 14, 2020
   Refused (200245)

4. Robert Weldon Dayvon Yerling, s/k/a
    Robert Weldon Dayvon Yearling
   v. Commonwealth of Virginia
   Record No. 1705-18-1
   Opinion rendered by Judge Petty
    on February 18, 2020
   Refused (200421)

5. Cody W. Brewer
   v. Commonwealth of Virginia
   Record No. 1665-18-2
   Opinion rendered by Chief Judge Decker
    on March 10, 2020
   Refused (200493)
